  Case 1:20-cv-02742-TJK Document 1-2 Filed 09/25/20 Page 1 of 1



                               Attachment 2
                United States' Complaint and Jury Demand

FHA Case Number        Closing Date    Endorsement Date    CHUMS ID
  023-2572666           12/5/2007           1/23/2008       P819
  023-2942832           8/21/2008           9/18/2008       P819
  023-3322075           3/19/2009           4/10/2009       DK43
  093-6306882           4/18/2008           5/16/2008       T709
  095-1058189            4/3/2009           5/8/2009        DK43
  121-2596447            3/6/2009           4/6/2009        DK43
  151-8233624           1/12/2007           3/23/2007       P819
  201-4304973           6/30/2009           7/27/2009       T709
  241-8398245           11/11/2008         12/11/2008       P819
  262-1803225            3/6/2009           4/6/2009        DK43
  291-3656839           3/14/2008           4/15/2008       P819
  291-3836206           3/25/2009           9/1/2009        DK43
  292-4721858           11/16/2006          1/12/2007       P819
  491-9112996            3/7/2008          4/15/2008        T709
  521-6771986           11/21/2008          1/13/2009       P819
  581-3156429           11/26/2008          1/13/2009       P819
  581-3863800           3/31/2010           4/26/2010       T709
  011-6090438           10/23/2008          12/1/2008       CI55
  023-2772992            5/2/2008           6/9/2008        CK83
  091-4193533           5/24/2007           7/3/2007        CI55
  095-0386321           4/24/2007           5/16/2007       BD65
  105-3230360           10/8/2007          11/30/2007       AK03
  105-3388696           2/20/2008           3/12/2008       AV74
  137-4277043           10/7/2008           11/5/2008       CM40
  241-7939442           11/7/2007           1/7/2008        T788
  241-8382744           10/28/2008          12/8/2008       DK46
  261-9489202           8/14/2008           9/17/2008       T788
  332-4495529           9/14/2007          10/30/2007       CI30
  374-5007607           12/30/2008          2/18/2009       DS98
  561-8591219           5/20/2008           7/2/2008        CW22
  581-2920874           12/31/2007          3/12/2008       CI55




 Case 4:20-cv-00874-RK Document 1-2 Filed 09/25/20 Page 1 of 1
